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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  MAKE THE ROAD NEW YORK, et al.,


                   Plaintiffs,

                                 v.                       No. 19-07993 (GBD)

      KENNETH CUCCINELLI, et al.,

                 Defendants.


       STATE OF NEW YORK, et al.

                   Plaintiffs,

                       v.                               No. 19-cv-07777 (GBD)

   U.S. DEPARTMENT OF HOMELAND
              SECURITY, et al.

                 Defendants.



               MOTION FOR STAY OF INJUNCTION PENDING APPEAL
       Defendants respectfully move the Court to stay pending appeal the Court’s order granting

a nationwide preliminary injunction in this matter. For the reasons discussed in Defendants’

Memorandum of Law in Support of Defendants’ Motion for Stay of Injunction Pending Appeal,

this Court should stay its preliminary injunction pending the resolution of the federal government’s

appeal. At a minimum, it should stay its injunction insofar as it sweeps more broadly than

necessary to redress Plaintiffs’ alleged injuries. Defendants conferred with Plaintiffs, who oppose

this motion.



Dated: August 3, 2020                              Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2020, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                    /s/ Joshua M. Kolsky
                                                    JOSHUA M. KOLSKY
